            Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

                                                 *
UNITED STATES OF AMERICA
                                                 *
                v.                                           JKB-18-506
                                                 *
DAYON BAILEY
                                                 *


                     EMERGENCY MOTION FOR DETENTION HEARING

       The Defendant, Dayon Bailey, by and through his attorneys, James Wyda, Federal Public

Defender for the District of Maryland, and Laura Ginsberg Abelson and Meghan Michael,

Assistant Federal Public Defenders, respectfully moves this Honorable Court to schedule a

detention hearing and release him on conditions. Mr. Bailey is paraplegic and suffers from many

chronic health conditions that make him particularly susceptible to contracting COVID-19 in a

jail setting. He therefore asks the Court to release him on conditions for the pendency of his

case, or in the alternative until the current pandemic concludes. In support of this motion,

counsel states as follows:

       I.       Procedural posture

       Mr. Bailey is charged in four counts of a five-count indictment, with conspiracy to

possess with intent to distribute controlled substances, under 21 U.S.C. § 846, possession with

intent to distribute controlled substances, under 21 U.S.C. § 841, unlawful possession of a

firearm, under 18 U.S.C. § 922(g), and possession of a firearm in furtherance of a drug

trafficking crime, under 18 U.S.C. § 924(c).

                                                 1
             Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 2 of 10




           On May 16, 2019, Mr. Bailey had his initial appearance on this case. ECF No. 7. At that

time, he consented to detention. He has not at any point had a detention hearing under 18 U.S.C.

§ 3142 in this Court. Mr. Bailey has been detained continuously at the Chesapeake Detention

Facility (“CDF”) since his initial appearance.

           II.      Mr. Bailey suffers from chronic health conditions that require continuous
                    care.

           Mr. Bailey is a paraplegic and suffers from a number of related chronic health conditions.

During the course of our representation of Mr. Bailey, we have gathered nearly 2500 of pages of

medical records,1 which reflect that Mr. Bailey suffers from frequent urinary tract infections due

to his use of a catheter and pressure ulcers that require wound care multiple times per week. In

addition, he has a life-long history of asthma and uses an inhaler daily. He has been hospitalized

several times with sepsis because his paraplegia sometimes prevents him from recognizing

symptoms of urinary tract infections until they become systemic. He also has a history of

contracting drug-resistant infections while hospitalized. Because of these conditions, Mr. Bailey

receives medical care at CDF several times a week.

           III.     The current COVID-19 outbreak places Mr. Bailey at increased risk of
                    serious illness.

           As the Court is well aware, the nation is in the midst of responding to an unprecedented

national health emergency due to COVID-19, a dangerous illness that is spreading rapidly

throughout the world and, of particular salience to the instant motion, throughout Maryland and

the District of Columbia. As of March 18, 2020, the new strain of coronavirus which causes



1
    All of these records are available for the Court’s and the government’s review, upon request.
                                                            2
             Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 3 of 10




COVID-19, has infected over 210,300 people, leading to at least 8,809 deaths worldwide.2 On

March 11, 2020, the World Health Organization officially classified COVID-19 as a pandemic.3

President Trump declared a national emergency due to COVID-19 on March 13, 2020.4 Well

prior to the national declaration, Maryland Governor Larry Hogan declared a State of Emergency

in Maryland due to COVID-19 on March 5, 2020.5 As of the morning of March 18, 2020, there

were 85 confirmed cases of COVID-19 in the state of Maryland.6

           Courts throughout the nation, including this one, have dramatically scaled back their

operations. The Supreme Court has canceled oral argument—for the first time in 102 years—for

the remainder of the month.7 Federal courts in Maryland, Virginia, and the District of Columbia

are open for emergencies only.8 State courts in Maryland, the District of Columbia, and Virginia


2
  Coronavirus Map: Tracking the Spread of the Outbreak, The New York Times (March 18, 2020), at
https://nyti.ms/2U4kmud (updating regularly).

3
  WHO Characterizes COVID-19 as a Pandemic, World Health Organization (March 11, 2020) at
https://bit.ly/2W8dwpS.
4
 Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak, Donald Trump, March 13, 2020, available at https://www.whitehouse.gov/presidential-
actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/.
5
 Declaration of State of Emergency and Existence of Catastrophic Health Emergency-COVID-19, by Governor
Hogan, March 5, 2020, available at https://governor.maryland.gov/wp-content/uploads/2020/03/Proclamation-
COVID-19.pdf.
6
    https://coronavirus.maryland.gov/ (updating regularly).
7
  U.S. Supreme Court Press Release, March 16, 2020, available at
https://www.supremecourt.gov/publicinfo/press/pressreleases/pr_03-16-20.
8
 See various Standing Orders filed in In re COVID-19 Pandemic Procedures, Misc. No. 20-146, United States
District Court for the District of Maryland; In re Court Operations in Exigent Circumstances Created by the
COVID-19 Pandemic, Standing Order 20-9, United States District Court for the District of Columbia; In re: Court
Operations under the Exigent Circumstances Created by the Outbreak of Coronavirus Disease 2019 (COVID-19):
Temporary Continuance of Court Proceedings and Restrictions on Visitors to Courthouses, General Order No.
2020-03, United States District Court for the Eastern District of Virginia.
                                                              3
           Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 4 of 10




are all also operating on an emergency basis and are essentially closed to the general public.9

Schools are shut throughout the region.10 The governor of Maryland, acting in a similar vein to

officials in California, Colorado, Connecticut, Illinois, Indiana, Iowa, Kentucky, Massachusetts,

Michigan, Minnesota, New Jersey, New York, New Hampshire, North Carolina, Ohio, Oregon,

Pennsylvania, Puerto Rico, Rhode Island, South Carolina, Vermont, Washington, West Virginia,

and Wisconsin, has ordered that all restaurants and bars be shut down indefinitely.11 Elections

have been delayed, including the Maryland presidential primary scheduled for April 28, 2020.12

The CDC recommends that any gathering of more than 50 people be cancelled or postponed for

at least eight weeks, and the President of the United States urged Americans to avoid gathering


9
 See generally Maryland Judiciary Coronavirus (COVID-19) Updates, available at
https://mdcourts.gov/coronavirusupdate; DC Courts’ Coronavirus Advisories, available at
https://www.dccourts.gov/coronavirus; In re: Order Declaring a Judicial Emergency in Response to COVID-19
Emergency, Supreme Court of Virginia, March 16, 2020, available at
http://www.courts.state.va.us/2020_0316_scv_order_declaration_of_judicial_emergency.pdf
10
  See, e.g., State Superintendent Salmon Announces Temporary Closure of Maryland Public Schools, March 12,
2020, available at https://news.maryland.gov/msde/state-superintendent-salmon-announces-temporary-closure-of-
maryland-public-schools/
11
  See Order of the Governor of the State of Maryland Amending and Restating The Order of March 12, 2020,
Prohibiting Large Gatherings and Events and Closing Senior Centers, and Additionally Closing Bars, Restaurants,
Fitness Centers, and Theaters, Governor Hogan, March 16, 2020, available at
https://www.courts.state.md.us/sites/default/files/import/coronavirus/eo20200316restatingorderofmarch12gatherings
.pdf. See also “The States and Cities Banning In-Person Dining at Restaurants and Bars During the Coronavirus
Outbreak”, Fox News, March 16, 2020, available at https://www.foxnews.com/food-drink/states-closing-bars-
restaurants-coronavirus-outbreak; “LIST: States that have closed restaurants and bars to dine-in customers,”
WGNO ABC News, March 17, 2020, available at https://wgno.com/news/health/coronavirus/list-states-that-have-
closed-restaurants-and-bars-to-dine-in-customers/.
12
  “Ohio Governor Announces Polls will be Closed Tuesday Over Coronavirus”, Dan Merica, CNN, March 17,
2020, available at https://www.cnn.com/2020/03/16/politics/ohio-primary/index.html; “Maryland Postpones
Primary, Shifts Special Election to Mail Voting Over Coronavirus”, Alice Miranda Ollstein and Zach Montellaro,
Politico, March 17, 2020, available at https://www.politico.com/news/2020/03/17/maryland-postpones-april-28-
primary-election-over-coronavirus-133776; “5 States Have Postponed Their Primaries Because of the
Coronavirus,” Nathaniel Rakich, FiveThirtyEight, March 17, 2020, available at
https://wgno.com/news/health/coronavirus/list-states-that-have-closed-restaurants-and-bars-to-dine-in-customers/.

                                                         4
           Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 5 of 10




in groups of more than ten people for the next 15 days.13 Jails throughout Maryland have

suspended visitation.14 Legal visits and social visits are suspended in all Bureau of Prisons

facilities.15

        Conditions of confinement create the ideal environment for the transmission of

contagious disease.16 Inmates cycle in and out of detention facilities from all over the country,

and people who work in the facilities including correctional officers and care and service

providers leave and return daily, without screening. Incarcerated people have poorer health than

the general population and, even at the best of times, medical care is limited in these facilities.17

Many people who are incarcerated also have chronic conditions, like diabetes or HIV, which

makes them vulnerable to severe forms of COVID-19. According to public health experts,

incarcerated individuals “are at special risk of infection, given their living situations,” and “may

also be less able to participate in proactive measures to keep themselves safe;” “infection control



13
  See “CDC Recommends Against Gatherings of Fifty or More; States Close Bars and Restaurants”, Emma
Bowman, NPR, March 15, 2020, available at https://www.npr.org/2020/03/15/816245252/cdc-recommends-
suspending-gatherings-of-50-or-more-people-for-the-next-8-weeks; “The President’s Coronavirus Guidelines for
America, 15 Days to Slow the Spread”, announced March 16, 2020 and available at
https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf
14
  “MD State Prison Visits Suspended Immediately”, Press Release, March 12, 2020 from Maryland Department of
Public Safety and Correctional Services, available at https://news.maryland.gov/dpscs/wp-
content/uploads/sites/4/2020/03/VISITS-CANCELLED-31220.pdf
15
  “Federal Bureau of Prisons COVID-19 Action Plan”, March 13, 2020, available at
https://www.bop.gov/resources/news/20200313_covid-19.jsp.
16
  Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases 45(8):1047-1055, at
https://doi.org/10.1086/521910.

17
  Laura M. Maruschak et al. (2015). Medical Problems of State and Federal Prisoners and Jail Inmates, 2011-12.
NCJ 248491. Washington, D.C.: U.S. Department of Justice, Bureau of Justice Statistics, at
https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf

                                                         5
             Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 6 of 10




is challenging in these settings.”18 Outbreaks of the flu regularly occur in jails, and during the

H1N1 epidemic in 2009, many jails and prisons dealt with high numbers of cases.19 In China,

officials have confirmed the coronavirus spreading at a rapid pace in Chinese prisons, counting

500 cases.20 Secretary of State Mike Pompeo has called for Iran to release Americans detained

there because of the “deeply troubling” “[r]eports that COVID-19 has spread to Iranian prisons,”

noting that “[t]heir detention amid increasingly deteriorating conditions defies basic human

decency.”21 Courts across Iran have granted 85,000 inmates furlough as part of the measures to

contain coronavirus across the country.22 In the U.S., steps are already being taken in some

jurisdictions to facilitate the release of elderly and sick prisoners and to reduce jail populations

by providing early release for some inmates and by discouraging the admission of individuals

arrested on non-violent misdemeanor charges.23 Baltimore State’s Attorney Marilyn Mosby


18
  “Achieving A Fair And Effective COVID-19 Response: An Open Letter to Vice-President Mike Pence, and Other
Federal, State, and Local Leaders from Public Health and Legal Experts in the United States,” (March 2, 2020), at
https://bit.ly/2W9V6oS; “An Epicenter of the Pandemic will be Jails and Prisons, if Inaction Continues”, Amanda
Klonsky, New York Times, March 16, 2020; “How Prisons and Jails Can Respond to the Coronavirus”, Jennifer
Gonnerman, the New Yorker, March 14, 2020.
19
     Prisons and Jails are Vulnerable to COVID-19 Outbreaks, The Verge (Mar. 7, 2020) at https://bit.ly/2TNcNZY.
20
  Rhea Mahbubani, Chinese Jails Have Become Hotbeds of Coronavirus As More Than 500 Cases Have Erupted,
Prompting the Ouster of Several Officials, Business Insider (Feb. 21, 2020) at https://bit.ly/2vSzSRT.
21
  Jennifer Hansler and Kylie Atwood, Pompeo calls for humanitarian release of wrongfully detained Americans in
Iran amid coronavirus outbreak, CNN (Mar. 10, 2020) at https://cnn.it/2W4OpV7.

22
   Adam Payne, Iran has released 85,000 prisoners in an emergency bid to stop the spread of coronavirus, Business
Insider (Mar. 17, 2020) at https://www.businessinsider.com/coronavirus-covid-19-iran-releases-eighty-five-
thousand-prisoners-2020-3.

23
  In New York Brooklyn District Attorney Eric Gonzalez, joined by public health experts, has asked Governor
Cuomo to grant emergency clemencies to elderly and sick prisoners (Sarah Lustbader, Coronavirus: Sentenced to
COVID-19, The Daily Appeal (Mar. 12, 2020) at https://theappeal.org/sentenced-to-covid-19/.); Cuyahoga County
(Ohio) is holding mass pleas and bail hearings to reduce the current jail population
(https://www.cleveland.com/court-justice/2020/03/cuyahoga-county-officials-will-hold-mass-plea-hearings-to-
                                                         6
            Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 7 of 10




ordered her staff to dismiss pending criminal charges against anyone arrested for, among other

things, possessing or distributing drugs, and urged Governor Hogan to free inmates who are over

the age of 60, approved for parole, or scheduled to complete their sentences within the next

year.24

          The federal bench in the District of Maryland is well aware of many of the challenging

conditions of confinement that individuals confront in the local federally-contracted facilities

that are relied upon by the court for defendants awaiting trial. These harsh conditions have also

not infrequently been the basis for Maryland district court judges to provide downward variances

when sentencing individuals in this jurisdiction. See, e.g., United States v. Amin Laguna

Morales, No. TDC-19-cr-180 (finding it appropriate to grant a downward variance due in part to

the poor conditions of pretrial confinement at CDF and the D.C. Jail).

          It is unrealistic to expect that, in a time of national emergency and in the face of a

pandemic, these same facilities would have the resources necessary to engage in screening and

testing of inmates, correctional staff, law enforcement officers and other care and service

providers who enter the facility. Moreover, each new arrestee brought from the community into



reduce-jail-population-over-coronavirus-concerns.html); Mahoning County (Ohio) jail is refusing all non-violent
misdemeanor arrestees (https://www.wkbn.com/news/coronavirus/mahoning-county-jail-refusing-some-inmates-
due-to-coronavirus-outbreak/); see also Collin County (TX) (https://www.dallasnews.com/news/public-
health/2020/03/12/facing-coronavirus-concerns-collin-county-sheriff-asks-police-not-to-bring-petty-criminals-to-
jail/). See also “Ohio Jail Releases Hundreds of Inmates Due to Coronavirus Concerns”,
https://kfor.com/health/coronavirus/ohio-jail-releases-hundreds-of-inmates-due-to-coronavirus-concerns/; “Los
Angeles is Releasing Inmates Early and Arresting Fewer People Over Fear of the Coronavirus in Jails”
https://www.buzzfeednews.com/article/salvadorhernandez/los-angeles-coronavirus-inmates-early-release; “Sheriff
suspends non-violent arrests due to COVID-19” Alyssa Mauk, March 14, 2020, The Journal Times.
24
   Tim Prudente and Phillip Jackson, Baltimore State’s Attoreny Mosby to stop prosecuting drug possession,
prostitution, and other crimes amid coronavirus, Baltimore Sun (Mar. 18, 2020) at
https://www.baltimoresun.com/coronavirus/bs-md-ci-cr-mosby-prisoner-release-20200318-
u7knneb6o5gqvnqmtpejftavia-story.html.
                                                        7
         Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 8 of 10




local federal custody facilities will be held with the existing population, potentially bringing

COVID-19 into the jail population. The large number of inmates, close quarters, and low

sanitary conditions create an especially alarming breeding ground for new COVID-19 cases.

       The courts have long recognized that there is no greater necessity than keeping a

defendant alive, no matter the charge. As Judge Weinstein held, “We do not punish those who

have not been proven guilty. When we do punish, we do not act cruelly. Continued

incarceration of this terminally ill defendant threatens both of these fundamental characteristics

of our democracy.” United States v. Scarpa, 815 F. Supp. 88 (E.D.N.Y. 1993) (pretrial

defendant with AIDS facing murder charges released on bail because of the “unacceptably high

risk of infection and death on a daily basis inside the MCC”).

       This Court should consider the “total harm and benefits to prisoner and society” that

continued imprisonment will yield, relative to the heightened health risks posed during this

rapidly encroaching pandemic. See Davis v. Ayala, 135 S. Ct. 2187, 2209 (2015) (Kennedy, J.,

concurring) (calling for heightened judicial scrutiny of the projected impact of jail and prison

conditions on a defendant); United States v. Mateo, 299 F. Supp. 2d 201, 212 (S.D.N.Y. 2004)

(reducing sentence where defendant’s pretrial conditions were “qualitatively more severe in kind

and degree than the prospect of such experiences reasonably foreseeable in the ordinary case”).

The risk to the jail population, the staff of the correctional facilities, and the community at large

is lessened when fewer inmates are detained.




                                                  8
         Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 9 of 10




       IV.     Mr. Bailey is particularly at risk of contracting COVID-19 and of serious
               illness from the virus.

       Though risks of COVID-19 apply to all detainees, Mr. Bailey is at particular risk because

of his chronic health conditions. First, as a practical matter, he has significantly more contact

with the medical unit at CDF and with medical providers than most other detainees. His medical

care, which includes tending to his catheter and pressure wounds, necessitates close physical

contact with CDF medical staff. Moreover, he receives medical care multiple times per week

even when healthy. Thus, should detainees at CDF contract the virus and seek medical

treatment, Mr. Bailey is more likely to come in contact with them, as well as CDF medical staff,

who may be asymptomatic carriers of the illness.

       Second, Mr. Bailey’s health conditions make him more susceptible to the illness. He has

a history of contracting secondary illnesses, including infection from methicillin-resistant

staphylococcus aureus (MRSA), severe sepsis, osteomyelitis (bone infections), bladder

infections, and other infections caused by hospital-prevalent germs because of his lack of

sensation in the lower half of his body and his frequent medical treatment. In the four years

preceding his arrest, he contracted acute urinary tract or bladder infections at least twenty times,

sometimes requiring overnight hospitalization. He also is at greater risk of serious illness

because he has asthma and chronic obstructive pulmonary disease (a progressive lung disease),

which has compromised his lung function to the point where he is required to use an inhaler

daily. The CDC has warned that individuals with asthma “may be at a higher risk of getting sick




                                                  9
         Case 1:18-cr-00506-JKB Document 22 Filed 03/18/20 Page 10 of 10




from COVID-19,” because it “can affect [one’s] respiratory tract (nose, throat, lungs), cause an

asthma attack, and possibly lead to pneumonia and acute respiratory disease.”25

        WHEREFORE, Mr. Bailey requests that the Court set a detention hearing and grant his

request to release him on conditions of release. Counsel has conferred with Assistant United

States Attorney Zachary Stendig, who opposes this relief and plans to file a written response to

this motion.



                                          Respectfully submitted,


                                          JAMES WYDA
                                          Federal Public Defender for the District of Maryland

                                                 /s/
                                          _____________________________________________
                                          Laura Ginsberg Abelson (#29363)
                                          Meghan Michael (#811137)
                                          Assistant Federal Public Defenders
                                          Office of the Federal Public Defender
                                          100 S. Charles St.
                                          Tower 2, 9th Floor
                                          Baltimore, MD 21201
                                          Telephone: (410) 962-3962
                                          laura_abelson@fd.org
                                          meghan_michael@fd.org




25
  People with Asthma and COVID-19, Centers for Disease Control and Prevention, at
https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/asthma.html
                                                     10
